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UNITED STATES DISTRICT CoURT APR 57 2an

 

 

 

 

 

David J. Bradley, Clerk of Courf

Southern District Of Texas Brownsville Division

 

UNITED STATES OF AMERICA CRIMINAL COMPLAINT
VS.
' Luis Armando AVONCE-Hernandez Case Number: B-lg- my LfO§

A#200 821 405 MEXICO

' ' Leticia GONZALEZ-Adame

 

 

A#216 445 817 MEXICO

I, the undersigned complainant state that the following is true and correct to the best of my
knowledge and belief. On or about March 01, 2018 in Cameron County, in

the Southern District Of Texas defendant(s)

knowingly, willfully, and in reckless disregard of the fact that forty two (42) undocumented alien(s) had come to, entered, and
remained in the United States in violation of law; did conceal, harbor and shield from detection said alien(s),

 

 

in violation of Title 8 United States Code, Section(s) 1324(a)(1)(A)(iii)
I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts:

On March 1, 2018 at approximately 6:00 p.m., Border Patrol Agents conducted a consensual search at 2934 Andorra Street in
Brownsville, Texas. The result of the search resulted in the apprehension of 42 illegal aliens and one principal Once at the
Brownsville Station, Agents initiated a smuggling investigation, discovering through self-admission and through testimony
provided by four individual’s subjects, serving as Material Witnesses, that Emerson Herrera-Gonzalez was the caretaker of the

group.

Continued on the attached sheet and made a part of this complaint: Yes |:l No
Signature of Complainant §

Gallegos, Samuel Border Patrol Agent
Prrnted Name of Complainant

 

Sworn to before me and signed in my presence,

Aml 27, 2018 at Brownsvill;ez 'l`exas
Date City/State

Ronald G. Morgan U.S. Magistrate Judge M% __"
/ / /

 

Name of Judge Title ofJudge t/Signature ofJudge

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CONTINUATION U§QMBI-AT,L-OKDMBLMDUUFH€N 1 Filed in TXSD On 04/27/181_,3@@%3*9§ §ismct court
Southern Distrlct of Texas

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AFFIDAVIT

ln support of Criminal Complaint

David J. Brad|ey, Clerk of Court

UNITED STATES OF AMERICA CRIMINAL COMPLAINT
V. ,/
Luis Arrnando AVONCE-Hernandez Case Number; B-18- m J: 405

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During the course of the smuggling investigation, Agents discovered additional evidence that linked additional co-conspirators in

the smuggling activities lt was discovered that Eduardo Manuel De Jesus Buentello rented the house at 2934 Andorra Street in
Brownsville, Texas, transported illegal aliens to and from the location, and for some time took the roll as the caretaker of the stash
house. Subject Hector Gomez-Pompa, was identified as the smuggling cell facilitator in charge of local operation. Both subjects
were indicted under Grand Jury and warrants for their arrest were issued.

Further investigation and testimony of defendants has linked two additional co-conspirators to the smuggling event that occurred on
March 1, 2018, Luis Armando Avonce-Hernandez and Leticia Gonzalez-Adame. Avonce-Hemandez has been identified as the
head of the alien smuggling organization operating out of Houston, Texas along with Gonzalez-Adame. It was discovered Avonce-
Hemandez and Gonzalez-Adame had constant contact with the caretakers of the aforementioned smuggling event. On numerous
occasions Avonce-Hernandez and Gonzalez-Adame would provide the caretakers with instructions/orders of the smuggling
arrangements In total, Avonce-Hemandez and Gonzalez-Adame were responsible for the smuggling of approximately 250 illegal
aliens that were harbored at 2934 Andorra Street in Brownsville, Texas.

SUBSCRIBED and SWORN to before me this 27th day of April, 2018

MM // S@(MBOMH PatrolAgent

Signature of Judi{:ial Oft`lcé / Signature of Complainant

 

 

 

